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                                  EXHIBIT A
                    STANDARDIZED FUND ACCOUNTING REPORT




EXHIBIT A - STANDARDIZED FUND ACCOUNTING REPORT
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                              STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
                                               Receivership - Cash Basis
                                                     16-CV-1417;
                                              SFAR 10-01-16 thru 12-31-16


FUND ACCOUNTING (See Instructions):
                                                                           Reporting       Subtotal Prior
                                                                            Period           Periods         Grand Total
Line 1         Beginning Balance (As of 10/01/2016):                         18,972.41               -      $        -
               Increases In Fund Balance:
Line 2         Business Income                                         $ 163,259.46        $   22,018.36    $ 185,277.82
Line 3         Cash and Securities                                     $                   $   14,373.27    $ 14,373.27
Line 4         Interest/Dividend Income                                $        -          $         -      $         -
Line 5         Business Asset Liquidation                                                                   $         -
Line 6         Personal Asset Liquidation                              $          -        $      200.00    $     200.00
Line 7         Third-Party Litigation Income                                                                $        -
Line 8         Miscellaneous - Other                                   $  34,649.69        $    9,756.35    $   44,406.04
                 Total Funds Available (Lines 1 — 8):                  $ 216,881.56        $   46,347.98    $ 244,257.13
               Decreases in Fund Balance:
Line 9         Disbursements to Investors
Line 10        Disbursements for Receivership Operations
    Line 10a   Disbursements to Receiver or Other Professionals
    Line 10b   Business Asset Expenses                                     150,314.65          27,375.57    $ 177,690.22
    Line 10c   Personal Asset Expenses
    Line 10d   Investment Expenses
    Line 10e   Third-Party Litigation Expenses
                  1.Attorney Fees
                  2. Litigation Expenses
                Total Third-Party Litigation Expenses _______
   Line 10f Tax Administrator Fees and Bonds
   Line lOg Federal and State Tax Payments                             $          -                         $        -
             Total Disbursements for Receivership Operations           $   150,314.65          27,375.57    $ 177,690.22
Line 11      Disbursements for Distribution Expenses Paid by the Fund:
    Line 11a    Distribution Plan Development Expenses:
                   1.Fees:
                       Fund Administrator                                                                   $        -
                       Independent Distribution Consultant (IDC)                                            $        -
                       Distribution Agent                                                                   $        -
                       Consultants                                                                          $        -
                       Legal Advisers                                                                       $        -
                       Tax Advisers                                                                         $        -
                   2. Administrative Expenses                                                               $        -
                   3. Miscellaneous                                                                         $        -
                  TotalPlan Development Expenses                                  ____.                     $        -
   Line 11b       Distribution Plan Implementation Expenses:
                  1.Fees:
                       Fund Administrator                                                                   $        -
                       IDC                                                                                  $        -
                       Distribution Agent                                                                   $        -
                       Consultants                                                                          $        -
                       Legal Advisers                                                                       $        -
                       Tax Advisers                                                                         $        -
                  2. Administrative Expenses                                                                $        -
                  3. Investor Identification:
                       Notice/Publishing Approved Plan                                                      $        -
                       Claimant Identification                                                              $        -
                       Claims Processing                                                                    $        -
                       Web Site Maintenance/Call Center                                                     $        -
                  4. Fund Administrator Bond                                                                $        -
                  5. Miscellaneous                                                                          $        -
                  6. Federal Account for Investor Restitution (FAIR)
                  Reporting Expenses                                                                                 -
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                           STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
                                            Receivership - Cash Basis
                                                  16-CV-1417;
                                          SFAR 10-01-16 thru 12-31-16

                 Total Plan Implementation Expenses                                                       $            -
               Total-Disbursemehtsior Distribution-Expenses Paid by the-fund
Line 12       Disbursements to Court/Other:
   Line 12a    Investment Expenses/Court Registry Investment
            System (CRIS) Fees                                                                            $           -
   Line 12b    Federal Tax Payments
               Total Disbursements to Court/Other:                                                        $        -
               Total Funds Disbursed (Lines 9 — 11):                   $ 150,314.65      $          -     $ 150,314.65
Line 13       Ending Balance (As of 12/31/2016):                       $  66,566.91      $    18,972.41   $     66,566.91
Line 14       Ending Balance of Fund — Net Assets:
   Line 14a      Cash & Cash Equivalents                               $   76,109.51     $    18,972.41   $      76,109.51
   Line 14b      Investments                                           $                                  $            -
   Line 14c      Other Assets of Uncleared Funds                       $   (9,542.60)                     $     (9,542.60)
               Total Ending Balance of Fund — Net Assets               $   66,566.91     $    18,972.41   $     66,566.91


OTHER SUPPLEMENTAL INFORMATION:
                                                                           Detail            Subtotal         Grand Total
              Report of Items NOT To Be Paid by the Fund:          1
Line 15       Disbursements for Plan Administration Expenses Not Paid by the Fund
   Line 15a      Plan Development Expenses Not Paid by the Fund:
                 1. Fees:
                      Fund Administrator                                                                  $           -
                      I DC                                                                                $           -
                      Distribution Agent                                                                  $           -
                      Consultants                                                                         $           -
                      Legal Advisers                                                                      $           -
                      Tax Advisers                                                                        $           -
                 2. Administrative Expenses                                                               $           -
                 3. Miscellaneous                                                                         $           -
                 Total Plan Development Expenses Not Paid by the Fund
   Line 15b      Plan Implementation Expenses Not Paid by the Fund:
                 1. Fees:
                      Fund Administrator                                                                  $           -
                      I DC                ..                                                              $           -
                      Distribution Agent...                                                               $           -
                      Consultants                                                                         $           -
                      Legal Advisers                                                                      $           -
                      Tax Advisers                                                                        $           -
                 2. Administrative Expenses                                                               $           -
                 3. Investor Identification:                                                              $           -
                      Notice/Publishing Approved Plan                                                     $           -
                      Claimant Identification                                                             $           -
                      Claims Processing                                                                   $           -
                      Web Site Maintenance/Call Center                                                    $           -
                 4. Fund Administrator Bond                                                               $           -
                 5. Miscellaneous                                                                         $           -
                 6. FAIR Reporting Expenses                                                               $           -
                 Total Plan Implementation Expenses Not Paid by the Fund                                  $           -
   Line 15c                                              -MY Fund
                 Tax AilminiefatorFeWS—&-Bond§ Not Paid-b.                                                $           -
               Total Disbursements for Plan Administration Expenses Not Paid by the Fund
Line 16       Disbursements to Court/Other Not Paid by the Fund:
   Line 16a      Investment Expenses/CRIS Fees                                                            $           -
   Line 16b      Federal Tax Payments                                                                     $           -
               Total Disbursements to Court/Other Not Paid by the Fund:                                   $
Line 17       DC & State Tax Payments                                                                     $            -

Line 18       No. of Claims:
   Line 18a      # of Claims Received This Reporting Period                                               $           -
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                            STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
                                             Receivership - Cash Basis
                                                   16-CV-1417;
                                            SFAR 10-01-16 thru 12-31-16

    Line 18b    # of Claims Received Since Inception of Fund
Line 19      No. of Claimants/Investors:
    Line 19a    # of Claimants/Investors Paid This Reporting Period
    Line 19b    # of Claimants/Investors Paid Since Inception of Fund




                                                                        Receiver:

                                                                        By:
                                                                              (signature)


                                                                              (printed name)


                                                                              (title)

                                                                        Date:
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            STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
                             Receivership - Cash Basis
                                   16-CV-1417;
                            Sched 2.1 - Business Income



                          Description                Amount
               Royalty (CFP)                   $         28,202.27
               Royalty (All-Access)            $          5,174.68
               Royalty (Fiesta)                $            568.68
               Royalty (Peach)                 $          1,282.40
               Royalty (CFP)                   $         40,993.06
               Royalty (All-Access)            $          7,122.93
               Royalty (Fiesta)                $          1,241.94
               Royalty (Peach)                 $          2,827.05
               Royalty (CFP)                   $         54,308.76
               Royalty (All-Access)            $        11,705.39
               Royalty (Fiesta)                $          3,040.66
               Royalty (Peach)                 $          6,791.64




               Total                                     163,259.46
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            STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
                             Receivership - Cash Basis
                                   16-CV-1417;
                              Sched 8 - Miscellaneous



                       Description                   Amount
               Withdrawal (CFP)                $          3,363.65
               Withdrawal (All Access)         $            377.30
               Withdrawal (Fiesta)             $             25.00
               Withdrawal (CFP)                $          6,266.80
               Withdrawal (All Access)         $            588.80
               Withdrawal (Peach)              $             34.00
               Withdrawal (CFP)                $         13,239.04
               Withdrawal (Peach)              $          1,885.30
               Withdrawal (All Access)         $          8,869.80




               Total                                     34,649.69
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            STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
                              Receivership - Cash Basis
                                    16-CV-1417;
                           Sched 10 - Oper. Disbursements



                         Description                          Amount
            IT Fees/Expenses                              $       41,076.90
            IT Fees/Expenses                              $       37,089.73
            Withdrawal (Trump)                            $        1,500.00
            Withdrawal (CFP)                              $        3,321.15
            401(K) Fees                                   $          356.25
            IT Fees/Expenses                              $        5,137.16
            IT Fees/Expenses                              $       30,090.87
            Withdrawal (All-Access)                       $          377.30
            Withdrawal (Fiesta)                           $           25.00
            401(K) Fees                                   $          356.25
            Withdrawal (CFP)                              $        6,324.60
            Withdrawal (All-Access)                       $          533.80
            Withdrawal (Peach)                            $           34.00
            Withdrawal (CFP)                              $      13,239.04
            Withdrawal (CFP)                              $           42.50
            Withdrawal (All-Access)                       $           55.00
            Withdrawal (Peach)                            $        1,885.30
            Withdrawal (All-Access)                       $        8,869.80




            Total                                         $      150,314.65




            *Withdrawal amounts represent a daily total
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              STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
                               Receivership - Cash Basis
                                      16-CV-1417;
                             Sched 14 - Ending Bal, of Funds


      Line   Class          Description             Amount
14a           Cash & Cash Equivalents
                    Rabobank                    $     76,109.51

                    Subtotal                    $     76,109.51                 186516.5

14b           Investments


                    Subtotal                    $

14c           Other Assets or Uncleared Funds         (9,542.60)


                    Subtotal                    $     (9,542.60)

                    Total                       $     66,566.91
